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                                                                                 U.S. BANKRUPTCY COURT
                                                                               NORTHERN DISTRICT OF TEXAS


                                                                                  ENTERED
                                                                               TAWANA C. MARSHALL, CLERK
                                                                                  THE DATE OF ENTRY IS
                                                                                 ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed March 28, 2014
______________________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

                  ORDER GRANTING REQUEST FOR EMERGENCY HEARING
                                 [Relates to Dkt. No. 48]

             The Court hereby GRANTS the Petitioner’s request for emergency hearing on

     Emergency Motion to Approve Notice Procedures [Dkt. No. 48].           Therefore, it is hereby

     ORDERED that:

             A hearing on the Emergency Motion to Approve Notice Procedures [Dkt. No. 48] is set to

     occur on April 1, 2014 at 1:30 p.m. (Prevailing Central Time) and will take place before the

     Honorable Stacey G.C. Jernigan, at the United States Bankruptcy Court, Northern District

     of Texas, 14th Floor, 1100 Commerce Street, Dallas, Texas 75252.

                                       # # # END OF ORDER # # #


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 Prepared and submitted by:

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 - and -

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